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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

_______________________________________
                                                )
STATE OF CALIFORNIA;                            )
COMMONWEALTH OF MASSACHUSETTS; )
STATE OF NEW JERSEY; STATE OF                   )
COLORADO; STATE OF ILLINOIS; STATE )
OF MARYLAND; STATE OF NEW YORK; )
and STATE OF WISCONSIN,                         )
                                                )
                       Plaintiffs,              )
                                                )
                       v.                       )        Civil Action No. 25-10548-MJJ
                                                )
U.S. DEPARTMENT OF EDUCATION;                   )
DENISE CARTER, in her official capacity as )
former Acting Secretary of Education and        )
current acting Chief Operating Officer, Federal )
Student Aid; LINDA MCMAHON, in her              )
official capacity as Secretary of Education,    )
                                                )
                       Defendants.              )
_______________________________________)


                MEMORANDUM AND ORDER ON PLAINTIFF STATES’
                 MOTION FOR TEMPORARY RESTRAINING ORDER

                                         March 10, 2025

JOUN, D.J.

       On March 6, 2025, the states of California, Massachusetts, New Jersey, Colorado,

Illinois, Maryland, New York, and Wisconsin (collectively, “Plaintiff States”) filed suit against

defendants Secretary of Education Linda McMahon and former Acting Secretary of Education

Denise Carter, in their official capacities, and the United States Department of Education

(“Department”; collectively, “Defendants”). Plaintiff States allege that, starting on February 7,

2025, the Department arbitrarily terminated all grants previously awarded under the Teacher
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Quality Partnership (“TQP”) Program and the Supporting Effective Educator Development

(“SEED”) Grant Program in violation of the Administrative Procedures Act (“APA”). 1

         Plaintiff States filed a Motion for Temporary Restraining Order, [Doc. No. 2], and a

hearing was held this afternoon at 2:30 P.M. Upon consideration of Plaintiff States’ briefs and

supporting evidence, the parties’ oral argument, and for the reasons explained below, I GRANT

Plaintiff States’ Motion and enter a temporary restraining order (“TRO”) against Defendants

pursuant to the terms outlined at the end of this Order.

    I.      DISTRICT COURT JURISDICTION

         Defendants argue the waiver of sovereign immunity in the APA, 5 U.S.C § 702, does not

extend to actions of contract which are within the exclusive jurisdiction of the Court of Federal

Claims under the Tucker Act, 28 U.S.C. § 1491. Plaintiff States disagree, arguing waiver of

sovereign immunity allows for suit in this Court.

         Very recently, another session in this District examined this precise issue in a

substantially similar case to this one. Massachusetts v. Nat’l Institutes of Health, No. 25-cv-

10338, 2025 WL 702163 (D. Mass. Mar. 5, 2025). In that case, in a thoughtful analysis, Judge

Angel Kelley determined that the “essence” of the action was not contractual in nature since the

source of the plaintiffs’ rights was in federal statute and regulations and because the relief was

injunctive in nature. See id. at *8. I agree with, and adopt, Judge Kelley’s reasoning and

conclusion. Here, similarly, Plaintiff States seek equitable relief in the form of reinstatement of

the TQP and SEED grants. Plaintiff States also seek to enjoin Defendants from implementing,

giving effect to, maintaining, or reinstating under a different name the termination of any




1
 The parties do not dispute that the termination of SEED and TQP grants constituted final
agency action.
                                                      2
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previously awarded TQP and SEED grants. In other words, Plaintiff States seek to preserve the

previous status quo to alleviate corresponding harm; they are not alleging claims for past

pecuniary harms. Plaintiff States have also sufficiently shown that the dispute does not hinge on

the terms of a contract between the parties, but rather “federal statute and regulations put in place

by Congress and the [Department].” See id. at *6. This Court retains jurisdiction. 2

    II.       TEMPORARY RESTRAINING ORDER

          The standard for issuing a TRO—an “extraordinary and drastic remedy”—is “the same as

for a preliminary injunction.” Orkin v. Albert, 557 F. Supp. 3d 252, 256 (D. Mass. 2021)

(cleaned up). Plaintiff States must show that weighing the following four interests favors

granting a TRO:

          (i) the likelihood that the movant will succeed on the merits; (ii) the possibility that,
          without an injunction, the movant will suffer irreparable harm; (iii) the balance of
          relevant hardships as between the parties; and (iv) the effect of the court’s ruling
          on the public interest.

Coquico, Inc. v. Rodriguez-Miranda, 562 F.3d 62, 66 (1st Cir. 2009).

              A. Likelihood of Success

          I begin with the likelihood of success on the merits, which is considered the most

important of the four elements and the “sine qua non” of the calculus. Ryan v. U.S. Immigr. &

Customs Enf’t, 974 F.3d 9, 18 (1st Cir. 2020). Plaintiff States allege that Defendants committed

substantive violations of the APA by taking an agency action that is (1) arbitrary and capricious

and an abuse of discretion, and (2) not in accordance with law. Based on the evidence before me

now, I find that Plaintiff States are likely to succeed on the merits of their claims.




2
 For purposes of the TRO, Plaintiff States have established their recipient institutions of higher
education and local educational agencies are public instrumentalities of Plaintiff States, which
have standing to bring suit on their behalf.
                                                         3
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       The APA requires that a court “hold unlawful and set aside agency action, findings, and

conclusions found to be arbitrary, capricious, [or] an abuse of discretion.” 5 U.S.C. § 706(2)(A).

An agency action is arbitrary and capricious if the agency has “relied on factors which Congress

has not intended it to consider, entirely failed to consider an important aspect of the problem,

offered an explanation for its decision that runs counter to the evidence before the agency, or is

so implausible that it could not be ascribed to a difference in view or the product of agency

expertise.” Motor Vehicle Mfrs. Ass’n of the U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463

U.S. 29, 43 (1983). “[T]he agency must examine the relevant data and articulate a satisfactory

explanation for its action including a rational connection between the facts found and the choice

made.” Id. (cleaned up); see also Amerijet Int’l, Inc. v. Pistole, 753 F.3d 1343, 1350 (D.C. Cir.

2014) (“[A] fundamental requirement of administrative law is that an agency set forth its reasons

for decision; an agency’s failure to do so constitutes arbitrary and capricious agency action.”

(cleaned up)). That “reasoned explanation requirement . . . is meant to ensure that agencies offer

genuine justifications for important decisions, reasons that can be scrutinized by courts and the

interested public.” Dep’t of Commerce v. New York, 588 U.S. 752, 785 (2019).

       The record reflects that there was no individualized analysis of any of the programs;

rather, it appears that all TQP and SEED grants were simply terminated. See Doc. 8-13 at 60.

And all the programs received the same standardized form letter notifying them of the grant

terminations (“Termination Letter”), which states as follows:

       It is a priority of the Department of Education to eliminate discrimination in all
       forms of education throughout the United States. The Acting Secretary of
       Education has determined that, per the Department’s obligations to the
       constitutional and statutory law of the United States, this priority includes ensuring
       that the Department’s grants do not support programs or organizations that promote
       or take part in diversity, equity, and inclusion (“DEI”) initiatives or any other
       initiatives that unlawfully discriminate on the basis of race, color, religion, sex,
       national origin, or another protected characteristic. . . . In addition to complying

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       with the civil rights laws, it is vital that the Department assess whether all grant
       payments are free from fraud, abuse, and duplication, as well as to assess whether
       current grants are in the best interests of the United States.

       The grant specified above provides funding for programs that promote or take part
       in DEI initiatives or other initiatives that unlawfully discriminate on the basis of
       race, color, religion, sex, national origin, or another protected characteristic; that
       violate either the letter or purpose of Federal civil rights law; that conflict with the
       Department’s policy of prioritizing merit, fairness, and excellence in education; that
       are not free from fraud, abuse, or duplication; or that otherwise fail to serve the best
       interests of the United States. The grant is therefore inconsistent with, and no longer
       effectuates, Department priorities.

[Doc. No. 1-1 at 2].

       I see no reasoned explanation articulated for the Department’s action here. First, the

Termination Letter lists several theoretical bases for the grant terminations—stating the grants

fund programs that, for example, “promote or take part in DEI initiatives” or “are not free from

fraud, abuse, or duplication” or “otherwise fail to serve the best interests of the United States”—

but fails to identify which of these bases applies here. This does not reach the level of a reasoned

explanation; indeed it amounts to no explanation at all. Second, even accepting any one of these

bases as justification for the agency action, such as discrimination related to DEI initiatives, the

Termination Letter is arbitrary and capricious because its statements are only conclusory.

“[C]onclusory statements will not do; an agency's statement must be one of reasoning.”

Amerijet, 753 F.3d at 1350 (cleaned up); see also Nat'l Institutes of Health, 2025 WL 702163, at

*18 (“[The agency’s] proffered ‘reasons’ fail to grapple with the relevant factors or pertinent

aspects of the problem and fails to demonstrate a rational connection between the facts and

choice that was made.”). There is no indication that the Department “examine[d] the relevant

data,” Motor Vehicle Mfrs., 463 U.S. at 29; to the contrary, the record reflects a lack of the

individualized reasoning and analysis required. To the extent that Defendants claim that it is

sufficient explanation for the Department to baldly assert that the grants “no longer effectuate[]


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Department policies,” such an assertion cannot stand. In the absence of any reasoning, rationale,

or justification for the termination of the grants, the Department’s action is arbitrary and

capricious.

       The Department’s failure to provide a reasoned explanation is “even more egregious in

light of the drastic change” from the existing policies under which the grant awards had been

authorized. Nat'l Institutes of Health, 2025 WL 702163, at *18. “Although a change in policy

does not result in a heightened standard of review, if an agency’s ‘new policy rests upon factual

findings that contradict those which underlay its prior policy; or when its prior policy has

engendered serious reliance interests’ an agency’s failure to consider such factors ‘would be

arbitrary or capricious.’” Id. (quoting F.C.C. v. Fox Television Stations, Inc., 556 U.S. 502, 515

(2009)). In such cases, “a reasoned explanation is needed for disregarding facts and

circumstances that underlay or were engendered by the prior policy.” Encino Motorcars, LLC v.

Navarro, 579 U.S. 211, 222 (2016). As described, the Termination Letter failed to provide any

reasoned explanation, let alone one that considered the facts and circumstances underlying the

prior policy.

       For these reasons, Plaintiff States are likely to succeed in their claims that the

Department’s action in terminating the grants is arbitrary and capricious. 3

              B. Irreparable Harm

       Plaintiff States have adequately shown that they would be irreparably harmed if

temporary relief were not granted. An “irreparable injury” for the purposes of preliminary relief

is “an injury that cannot adequately be compensated for either by a later-issued permanent



3
 This suffices for purpose of the present TRO and I need not, at this time, reach the argument in
Count II that there exists a separate ground for a substantive violation of the APA, i.e., an action
not in accordance with the law.
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injunction, after a full adjudication on the merits, or by a later-issued damages remedy.” Rio

Grande Cmty. Health Ctr., Inc. v. Rullan, 397 F.3d 56, 76 (1st Cir. 2005). “The necessary

concomitant of irreparable harm is the inadequacy of traditional legal remedies. The two are flip

sides of the same coin: if money damages will fully alleviate harm, then the harm cannot be said

to be irreparable.” K-Mart Corp. v. Oriental Plaza, Inc., 875 F.2d 907, 914 (1st Cir. 1989). Here,

there is ample evidence that the Department’s termination of all previously awarded TQP and

SEED grants has already harmed, and will continue to harm, the programs and employees of

those programs that rely on these grants. See [Doc. No. 8; Doc. Nos. 8-1 to 8-21].

       The termination of funding for a program at the California State University with the

objective of training and developing “highly qualified community-centered teachers who could

staff and support high-need or high-poverty urban K-12 schools and students, particularly with

regard in the areas of special education,” has resulted in the loss of mentoring, training, and vital

support for 26 students, and the loss of financial stipends for about 50 incoming students who

need these stipends to participate in classroom teaching. [Doc. No. 8-3 at ¶¶ 7, 16, 22]. In New

Jersey, The College of New Jersey was forced to cancel the remainder of its urban teacher

residency program due to the loss of its TQP grant. [Doc. No. 8-9 at ¶ 21]. Here in

Massachusetts, where Boston Public Schools had relied on their TQP grant to support their

teacher pipeline programming designed to address the need and shortage of multilingual

educators, [Doc. No. 8-2 at ¶ 8], the abrupt termination of this grant has resulted in the loss of

three-full time employees who were being funded by the grant. [Id. at ¶ 28]. Thus, it is apparent

that the harms which have already resulted, and which will continue to result, from the grant

terminations are irreparable.




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       Moreover, I agree with Plaintiff States that a later-issued permanent injunction or

damages remedy cannot compensate for such loss of federal funding. [See Doc. No. 7 at 24].

Plaintiff States have sufficiently established that the loss of this funding “threatens the very

existence” of the teacher pipeline programs implemented by Plaintiff States, and there is no

traditional remedy that can compensate Plaintiff States for the disruptions and discord resulting

from the abrupt terminations of these grants. Packard Elevator v. I.C.C., 782 F.2d 112, 115 (8th

Cir. 1986); see also Texas Children’s Hosp. v. Burwell, 76 F. Supp. 3d 224, 242 (D.D.C. 2014)

(unrecoverable funds can constitute irreparable harm). The record shows how the terminations

have “upended months, if not years” of work required to implement programs that rely on these

grants, and how terminations have impacted “budgets for staff, coursework, partner

organizations, school districts, and student populations” and existing projects or projects already

in progress. [Doc. No. 7 at 25]; see, e.g., [Doc. No. 8-1 at ¶¶ 20-22 (loss of grant hindered a

program at University of Massachusetts Amherst that was one and a half years into a five-year

project with significant deliverables already scheduled); [Doc. No. 8-12 at ¶ 18 (grant

termination interrupted recruitment and retention activities)].

       For these reasons, Plaintiff States have established irreparable harm. See K–Mart, 875

F.2d at 915 (“District courts have broad discretion to evaluate the irreparability of alleged harm

and to make determinations regarding the propriety of injunctive relief”) (cleaned up).

           C. Balance of Hardships/Effect on Public Interest

       Finally, upon consideration of the last two factors, the balance of the equities weighs

heavily in favor of granting Plaintiff States’ TRO, and a TRO would serve the public interest. 4




4
 The last two factors “merge when the Government is the party opposing the [TRO].” Nken v.
Holder, 556 U.S. 418, 435 (2009).
                                                      8
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The record shows that if I were to deny the TRO, dozens of programs upon which public

schools, public universities, students, teachers, and faculty rely will be gutted. On the other hand,

if I were to grant the TRO, as another court has put it, Defendants “merely would have to

disburse funds that Congress has appropriated to the States and others.” New York v. Trump, 25-

cv-39, 2025 WL 357368, at *4 (D.R.I. Jan. 31, 2025) (cleaned up). I find that, “absent such an

order, there is a substantial risk that the States and its citizens will face a significant disruption in

health, education, and other public services that are integral to their daily lives due to this pause

in federal funding.” Id. Further, “[t]he fact that [Plaintiff States] have shown a likelihood of

success on the merits strongly suggests that a TRO would serve the public interest.” Id.

Accordingly, the last two factors weigh in favor of granting Plaintiff States’ TRO.

    III.         CONCLUSION

           For the reasons stated above, Plaintiff States’ Motion for Temporary Restraining Order,

[Doc. No. 2], is GRANTED. It is therefore ORDERED that, until further order is issued by this

Court:

            1.     Defendants shall immediately restore Plaintiff States to the pre-existing status quo

prior to the termination under all previously awarded TQP or SEED grants for recipients in

Plaintiff States;

           2.      Defendants are temporarily enjoined from implementing, giving effect to,

maintaining, or reinstating under a different name the termination of any previously awarded TQP

or SEED grants for recipients in Plaintiff States, including but not limited to through the

Termination Letter, Termination GAN, and any other agency actions implementing such

terminations, such as suspension or withholding of any funds approved and obligated for the

grants;



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        3.      Defendants are temporarily enjoined from terminating any individual TQP and

SEED grant for recipients in Plaintiff States, except to the extent the final agency action is

consistent with the Congressional authorization and appropriations, relevant federal statute,

including the requirements of the APA, the requirements of the relevant implementing

regulations, the grant terms and conditions, and this Court’s Order;

        4.      Within 24 hours of entry of this Order, Defendants shall provide notice of the TRO to

their employees and anyone acting in concert with them, and to all TQP and SEED grantees in

Plaintiff States;

        5.      Defendants shall file a status report with the Court, within 24 hours of entry of this

Order, confirming their compliance with the Court’s TRO;

        6.      This TRO shall become effective immediately upon entry by this Court. The TRO

shall remain in effect for 14 days; and

        7.      By March 11, 2025 at 5 P.M., the parties shall jointly propose a briefing schedule

regarding Plaintiff States’ request for preliminary injunction.



SO ORDERED.

                                               /s/ Myong J. Joun
                                               United States District Judge




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